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                    Exhibit 2
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                                                                  HAUSFELD.
                                                                   888 16th Street NW
                                                                   Suite 300
                                                                   Washington DC 20006

                                                                   T: +202 540 7200


                 ENGAGEMENT AGREEMENT FOR SERVICE OF
                MELINDA R. COOLIDGE AS MONITORING TRUSTEE

On August 22, 2023, Melinda R. Coolidge was appointed by a United States court with
lawful jurisdiction (the “Court") to serve as the Monitoring Trustee in United States v.
ASSA ABLOY AB, et al., Case No. 1:22-cv-02791-ACR (D.D.C.). This letter agreement
(the “Agreement") sets forth the agreement between Hausfeld and ASSA ABLOY AB
(“ASSA ABLOY") with respect to Melinda R. Coolidge’s service as the Monitoring
Trustee.

Effect of Court Orders

ASSA ABLOY understands and agrees that where this Agreement conflicts with the
terms of any Court order, including the Final Judgment, May 5, 2023 Asset Preservation
Stipulation and Order, and Amended Stipulated Protective Order and Order Governing
Production of Investigation Materials (“Protective Order") (each an "Order.” and together
the “Orders”), the Order shall control.

The Final Judgment, Asset Preservation Stipulation and Order, and Protective Order
are attached as Exhibits A. B, and C to this Agreement and are incorporated by
reference.

Power, Authority, Responsibilities, and Obligations

The Monitoring Trustee shall have all power, authority, responsibilities, and obligations
conferred upon her by the Court necessary to execute her duties as Monitoring Trustee
in the above-captioned matter as set out in the Orders (the “Monitorship”). Nothing in
this Agreement shall change, amend, modify, or othenwise expand or limit those powers
or responsibilities.

Access and Information

Subject to the provisions of the Protective Order and solely to the extent necessary to
fulfil her obligations under the Final Judgment, the Monitoring Trustee shall have full
and complete access to (i) ASSA ABLOY’s employees or agents who have knowledge
relevant to the proper discharge of the Orders and ASSA ABLOY’s obligations with
respect to the December 1, 2022 Stock Purchase Agreement between ASSA ABLOY
and Fortune and all ancillary agreements attached thereto; (ii) ASSA ABLOY's books

hausfeld.com

AMSTERDAM | BERLIN | BOSTON | BRUSSELS | DÜSSELDORF | LONDON | NEW YORK | PARIS i PHILADELPHIA
SAN FRANCISCO | STOCKHOLM WASHINGTON, DC
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and records; and (iii) ASSA ABLOY's facilities. Such access shall include the right to
copy documents and interview employees, either informally or on the record. ASSA
ABLOY will provide access to its employees and facilities at times mutually-agreeable to
the Monitoring Trustee and ASSA ABLOY, and shall use reasonable best efforts to
promptly respond to requests for information or documents and to arrange meetings
and discussions (including tours of facilities, site visits, inspections, and interviews).

Nothing in this Agreement shall be construed as a waiver of any legally recognized
claim of privilege.

All reports by the Monitoring Trustee submitted to the United States will be labeled
 “CONFIDENTIAL" when submitted to the United States. Unless ordered by the Court,
the Monitoring Trustee will not file on the public docket any such report labeled as
CONFIDENTIAL. If the Monitoring Trustee is required to file a report on the public
docket, the Monitoring Trustee shall provide such report to ASSA ABLOY prior to filing,
unless the Monitoring Trustee is expressly ordered by the Court to do otherwise. ASSA
ABLOY may, in good faith, ask for Confidential Information (as defined in the Protective
Order), information derived from Confidential Information, and personally identifiable
information to be redacted or placed in a confidential schedule or exhibit prior to filing
such report and the Monitoring Trustee shall take the requested steps to protect that
information. In the event that the Court expressly orders the Monitoring Trustee not to
submit a report to ASSA ABLOY prior to filing it on the public docket, the Monitoring
Trustee will take reasonable steps to ensure that information she reasonably believes to
be Confidential Information, information derived from Confidential Information, and
personally identifiable information is redacted or contained in a confidential schedule or
exhibit prior to filing such report.

At the request of an interviewee, the Monitoring Trustee may exclude counsel for ASSA
ABLOY from interviews. Any person interviewed by the Monitoring Trustee or a member
of the Monitoring Trustee Team shall be entitled to have their personal counsel present
for the duration of any such interview.

Term and Termination

This Agreement shall expire upon the earliest of (a) the expiration or termination of the
Orders, (b) the appointment by the Court of a substitute Monitoring Trustee (or, if
sooner, the date the Monitoring Trustee no longer serves in such capacity) pursuant to
Article X(K) of the Final Judgment, (c) the death or resignation of the Monitoring
Trustee, or (d) the occurrence of all of the events specified in Article X(J) of the Final
Judgment. Upon the termination or expiration of this Agreement, the confidentiality
obligations set forth in this Agreement will remain in force, as will the compensation
provisions (with respect to fees already accrued and costs and expenses already
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incurred by the Monitoring Trustee and Monitoring Trustee Team pursuant to
confidential Schedule A attached hereto) and indemnification provisions.

Monitoring Trustee and Team

The Monitoring Trustee will be assisted by agents, investment bankers, attorneys,
accountants, or consultants reasonably necessary for the Monitorship, who will be
solely accountable to the Monitoring Trustee, (each, a '،member of the Monitoring
Trustee Team” and together, the “Monitoring Trustee Team”), as identified in
confidential Exhibit D to this Agreement, as amended; provided, (a) prior to becoming a
member of the Monitoring Trustee Team, any additional member shall execute
Appendix A to the Protective Order; and (b), within three (3) business days of engaging
any additional member of the Monitoring Trustee Team, the Monitoring Trustee shall
notify the United States and ASSA ABLOY in writing of such engagement and provide
the rate of compensation for such additional proposed member. The Monitoring Trustee
may modify the Monitoring Trustee Team at any time by (1) delivering an amended
confidential Exhibit D to ASSA ABLOY and the United States, (2) providing the United
States with a copy of Appendix A to the Protective Order executed by any additional
members, and (3) confirming that any additional members do not have a conflict as
described in the “Other Engagements” section of this letter.

Any request for access to personnel, books, records, and facilities by a member of the
Monitoring Trustee Team, shall be treated by ASSA ABLOY as a request from the
Monitoring Trustee herself, subject to the terms of this Agreement.

No Agency. Attorney-Cl lent or Fiduciary Relationship

The Monitoring Trustee and the members of the Monitoring Trustee Team shall not be
treated for any purpose as an agent, employee, consultant, advisor, legal counsel or
affiliate of ASSA ABLOY. No attorney-client relationship shall be created between ASSA
ABLOY and any other person or entity as a result of this Agreement. The Monitoring
Trustee and the Monitoring Trustee Team shall not owe any fiduciary duties to ASSA
ABLOY or its directors, officers, employees, agents, security holders or creditors and no
employment relationship shall exist between the Monitoring Trustee or any member of
the Monitoring Trustee Team and ASSA ABLOY.

Confidentiality and Non-Disclosure

The Monitoring Trustee and Monitoring Trustee Team shall be bound by the Protective
Order in connection with the Monitorship concerning ASSA ABLOY.

In the event the Monitoring Trustee or a member of the Monitoring Trustee Team is
requested pursuant to applicable law, regulation, or legal or judicial process, including
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through a subpoena for documents or testimony (“Applicable Law”), to disclose
Confidential Information, or any materials or information relating to the Monitoring
Trustee’s or Monitoring Trustee Team’s performance of services relating to the
Monitorship, the Monitoring Trustee will, except as otherwise required by Applicable
Law, promptly notify the United States and ASSA ABLOY so that they may seek a
protective order or other similar or appropriate relief. The Monitoring Trustee and the
Monitoring Trustee Team agrees that it will not oppose any reasonable action taken by
ASSA ABLOY or the United States to obtain such protective order or other similar or
appropriate relief. In the event ASSA ABLOY is requested pursuant to Applicable Law to
disclose any materials or information relating to the Monitoring Trustee’s or Monitoring
Trustee Team’s performance of services relating to the Monitorship, ASSA ABLOY will,
except as othenwise required by Applicable Law, promptly notify the United States and
the Monitoring Trustee so that they may seek a protective order or other similar or
appropriate relief. ASSA ABLOY agrees that it will not oppose any reasonable action
taken by the Monitoring Trustee, any member of the Monitoring Trustee Team, or the
United States to obtain such protective order or other similar or appropriate relief. ASSA
ABLOY and the Monitoring Trustee and the members of the Monitoring Trustee Team
will reasonably cooperate with one another in responding to any request pursuant to
Applicable Law. For the avoidance of doubt, in the event the Monitoring Trustee or
Monitoring Trustee Team must respond or object to any such request, ASSA ABLOY
will compensate the Monitoring Trustee or Monitoring Trustee Team for costs (including
time and expenses such as attorneys’ fees) incurred in responding or objecting to such
request, according to the provisions of confidential Schedule A attached hereto and the
“Indemnification" section below, as applicable.

The Monitoring Trustee will inform the United States and ASSAABLoY if the Monitoring
Trustee has reason to believe that Confidential Information may have been disclosed in
a manner inconsistent with the Protective Order or this Agreement (including but not
limited to a data breach). Each member of the Monitoring Trustee Team shall inform the
Monitoring Trustee if it has reason to believe that Confidential Information may have
been disclosed in a manner inconsistent with the Protective Order or this Agreement
(including but not limited to a data breach). Notwithstanding any return or destruction of
Confidential Information, all Confidential Information will continue to be subject to the
provisions of the Protective Order and this Agreement.

Fees and Expenses

ASSA ABLOY agrees to pay the Monitoring Trustee and Monitoring Trustee Team’s
reasonable fees, costs and expenses incurred in connection with the Monitorship. ASSA
ABLOY shall compensate the Monitoring Trustee for her services and expenses, and
the services and expenses of the Monitoring Trustee Team, in accordance with the
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confidential Schedule A attached hereto.

Other Engagements

While this Agreement is in effect, absent an express written waiver from ASSA ABLOY
to be given in its sole discretion, the following terms of this “Other Engagements”
section shall apply:

   a. The Monitoring Trustee and individual persons who are members of the
      Monitoring Trustee Team shall not personally represent or provide services to
      clients in any matter adverse to ASSA ABLOY or its affiliates (as identified in an
      ordinary-course conflicts check).

   b. No person who is a partner or employee of a firm or a company associated with a
      member of the Monitoring Trustee Team (other than Bates White) shall represent
      or provide services to clients in any matter adverse to ASSA ABLOY or its
      affiliates (as identified in an ordinary-course conflicts check) unless (‫ )؛‬the
      representation is not substantially related to the Monitorship; (‫ )؛؛‬firewalls are
      implemented between all members of the Monitoring Trustee Team and the other
      members of the firm or company working on such other matter; and (iii) the
      representation has been cleared by the Department of Justice under its normal
      practice of evaluating such issues for monitoring trustees.

   c. Neither the Monitoring Trustee, nor individual persons who are members of the
      Monitoring Trustee Team, nor any person who is a partner or employee of a firm
      or a company (other than Bates White) associated with a member of the
      Monitoring Trustee Team shall represent or provide services to the third parties
      identified on the attached Exhibit E if the representation or services provided are
      substantially related to the Monitorship.

   d. No person who is a partner or employee of Bates White (excluding the Bates
      White members of the Monitoring Trustee Team, who are subject to the
      restrictions in section a., above) shall provide services on behalf of or adverse to
      ASSA ABLOY or its affiliates, or on behalf of the third parties identified on the
      attached Exhibit E. in the Monitorship proceeding, including direct follow-on
      litigation or other direct follow-on proceedings arising from the underlying merger,
      divestiture, or Monitorship. Bates White shall ensure that all electronic files
      containing confidential information relating to the work provided under this
      Agreement are protected by appropriate passwords and/or permissions such that
      they may be accessed only by authorized members of the Monitoring Team.
      Consistent with Bates White’s ordinary practice, its partners and employees will
      not discuss confidential information relating to matters outside their respective^

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       engagement teams. To the extent partners or employees of Bates White, other
       than members of the Monitoring Trustee Team, wish to take an engagement
       adverse to ASSA ABLOY or its affiliates, Bates White will provide advance notice
       to the Department of Justice, consistent with its confidentiality obligations to other
       clients. If the representation is not cleared by the Department of Justice under its
       normal practice of evaluating such issues for monitoring trustees and Bates
       White wishes to proceed with the engagement, Bates White will withdraw from
       the Monitoring Team, and section a. above shall still apply.

To the extent any member of the Monitoring Trustee Team is added following the date
hereof, such member shall confirm that it does not have any conflicts as described
above.

This Agreement does not limit ASSA ABLOY’s ability to inform the Court if it believes
that work on a particular matter adverse to ASSA ABLOY or its affiliates by a partner or
employee of a firm or a company associated with a member of the Monitoring Trustee
Team impedes the actual or apparent independence of the Monitorship. Nor does this
Agreement limit ASSA ABLOY’s ability to bring concerns about the engagement of a
partner or employee of a firm or a company associated with a member of the Monitoring
Trustee Team in a matter adverse to ASSA ABLOY or its affiliates to the attention of the
adjudicator(s) in such a matter.

Indemnification and Limitation of Liability

ASSA ABLOY shall indemnify, defend and hold harmless the Monitoring Trustee,
 Hausfeld LLP, and the members of the Monitoring Trustee Team, Stoneturn Group LLP
and Bates White (in such capacity, an “Indemnified Person“) from and against any and
all third-party claims, damages, losses, liabilities, obligations, demands, charges, suits,
judgments, penalties, fines, awards, settlements, fees, costs and expenses of any type
whatsoever (whether in contract, tort or otherwise, and including without limitation the
duty to defend and indemnify against any claims for damages, injunctive relief, or any
other relief, including but not limited to special, indirect, consequential or punitive
damages, court costs, attorneys’ fees and other actual costs of counsel who may be
selected in the sole discretion of the Indemnified Person), and any other liabilities or
expenses of any nature, that may be incurred, sustained, suffered, paid or accrued by
or asserted or awarded against the Indemnified Person (“Third-Party Liabilities”), in
connection with, based upon, resulting from, attributable to, related to or arising directly
or indirectly out of the Monitorship, the Orders and this Agreement, or any services or
 other action taken in connection with the Monitorship or this Agreement, except to the
extent that such Third-Party Liabilities result from bad faith, willful misconduct, or a
willful, material breach of this Agreement by the Indemnified Person. ASSA ABLOY
 must indemnify the Indemnified Person from Third-Party Liabilities to the fullest extent
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required by the terms of this Agreement until a court enters a final order finding the
Indemnified Person engaged in bad faith, willful misconduct, or made a willful, material
breach of this Agreement and all appellate rights concerning that order have been
exhausted; provided, in the event a court enters such a final order and all appellate
rights concerning that order have been exhausted, the Indemnified Person shall
promptly repay to ASSA ABLOY all amounts paid by ASSA ABLOY to such Indemnified
Person pursuant to this indemnification section in connection with such matter.

This indemnification applies to any Third-Party Liability whatsoever and shall be
effective regardless of whether the obligations of the Monitoring Trustee under the
Orders have been fulfilled. ASSA ABLOY’s indemnity obligations under this Agreement
shall be the sole remedy available from ASSA ABLOY and their respective affiliates to
the Indemnified Person. For the avoidance of doubt, nothing in this Agreement limits
any Indemnified Person’s rights to seek any remedy from any other third party.

ASSA ABLOY, and any director, officer, employee or agent of ASSA ABLOY, shall not,
without the prior written consent of the Indemnified Person, settle or compromise or
consent to the entry of any judgment in any pending or threatened claim, action, suit,
investigation, litigation, proceeding or other matter in respect of which the Indemnified
Person is an actual party to such claim, action, suit, investigation, litigation, proceeding
or matter if such settlement includes non-monetary damages or behavioral remedies.
The Indemnified Person, and any employee or agent of the Indemnified Person, shall
not, without the prior written consent of ASSA ABLOY, not to be unreasonably withheld,
settle or compromise or consent to the entry of any judgment in any pending or
threatened claim, action, suit, investigation, litigation, proceeding or other matter in
respect of which the Indemnified Person is an actual party to such claim, action, suit,
investigation, litigation, proceeding or matter if such settlement includes monetary
damages.

This Indemnification section shall be binding upon and inure to the benefit of and be
enforceable by the parties hereto and their respective successors (including any direct
or indirect successor by purchase, merger, consolidation or othenwise to all or
substantially all of the business and/or assets of ASSA ABLOY), assigns, spouses,
heirs and personal and legal representatives. This Indemnification section shall continue
in effect regardless of whether the Monitoring Trustee continues to provide services to
ASSA ABLOY. This Indemnification section applies as of August 10, 2023; shall survive
termination of this Agreement; and shall remain in effect after the term of this
Agreement.

Neither the Monitoring Trustee, Hausfeld LLP, the members of the Monitoring Trustee
Team, Stoneturn Group LLP, nor Bates White shall be liable to ASSA ABLOY for direct
or indirect, special, consequential, or exemplary damages, except to the extent that such
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damages result from bad faith, willful misconduct, or a willful, material breach of this
Agreement by the Indemnified Person.

Integration and Amendment

This Agreement, including Schedule A and Exhibits A. B, C, D, and E, constitutes the
full and complete understanding between the Monitoring Trustee and ASSA ABLOY.
Any other oral or written prior agreements or understandings are superseded hereby.
Any amendment to this Agreement must be in writing signed by all parties. This
Agreement may be executed in counterparts, and facsimile signatures are considered
original.

No Third-Party Beneficiaries

This Agreement, including all exhibits and schedules attached hereto, is not intended to
and does not confer any rights or remedies upon any other person other than the
parties hereto.

Assignment

This Agreement may not be assigned or otherwise transferred by ASSA ABLOY or the
Monitoring Trustee without the consent of ASSA ABLOY and the approval of the United
States. Any such assignment or transfer shall be consistent with the terms of the
Orders.

Modification

No amendment, modification, termination, or waiver of any provision of this Agreement
shall be effective unless made in writing, signed by all parties, and approved by the
United States. Any such amendment, modification, termination, or waiver shall be
consistent with the terms of the Orders.

Governing Law

This Agreement and the rights and obligations of the parties hereunder shall in all
respects be governed by the substantive laws of the District of Columbia, including all
matters of construction, validity and performance.

If you are in agreement with the terms of this letter, please sign and date in the space
provided below and return to me via facsimile or electronic mail.



[Signature pages follow]

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Sincerely,


Hausfeld LLP




By:
Name: Melinda R. Coolidge
Title: US Managing Partner
Date: September 29, 2023




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Acknowledged and agreed bv:


ASSA ABLOY AB (PUBL)




By：_ .
Name: Erik Pieder/by PoA
Title: EVP & CFO
Date: 5 October 2023




Name: Ann-Charlotte Hõgberg/by PoA
Title: VP & General Counsel
Date: 5 October 2023




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                                         Schedule A

Monitoring Trustee and Monitoring Trustee Fees, Expenses and Costs

From August 10, 2023, until the expiration or termination of this Agreement, ASSA
ABLOY shall compensate the Monitoring Trustee and Monitoring Trustee Team, (a) for
services rendered in connection with the Monitorship in accordance with confidential
Exhibit D to this Agreement, as amended hereafter in accordance with the terms of this
Agreement, including with respect to ordinary course of business adjustments to billing
rates, and (b) for actual out-of-pocket expenses reasonably incurred by the members of
the Monitoring Trustee Team in the performance of the Monitorship.

Travel

When traveling for the Monitorship, the Monitoring Trustee and the Monitoring Trustee
Team may book non-refundable economy-class domestic airfare and business-class
international airfare (for flights scheduled for at least six hours of continuous flight time),
and bill for travel time when not working on this or other matters. Travel arrangements
for members of the Monitoring Trustee Team shall be reasonable and commensurate
with the individual’s experience and responsibilities. The Monitoring Trustee and the
Monitoring Trustee Team will use reasonable best efforts to book the lowest-cost logical
travel routing.

Invoices & Billing

The Monitoring Trustee will invoice ASSA ABLOY on a monthly basis for the fees,
expenses and costs of the Monitoring Trustee and the Monitoring Trustee Team. Such
invoices shall include high-level summaries of all matters for which the Monitoring
Trustee submits an invoice to ASSA ABLOY. The invoice shall provide the total monthly
charges for services and expenses individually for the Monitoring Trustee and the
members of the Monitoring Trustee Team and shall include a high-level description of
services rendered with sufficient detail to reasonably describe the contributions of each
member of the Monitoring Trustee Team, as well as the hours worked (rounded to the
nearest tenth) by each member of the Monitoring Trustee Team, along with an itemized
list of expenses.

ASSA ABLOY agrees that the Monitoring Trustee's and Monitoring Trustee Team’s
fees, expenses and other costs are ASSA ABLOY's sole responsibility, and ASSA
ABLOY will promptly pay all invoices upon presentation, and in no case later than 60
days following presentation, by wire transfer in U.S. dollars to the Monitoring Trustee
pursuant to written instructions to be provided with the first invoice.

The Monitoring Trustee shall ensure that all members of the Monitoring Trustee Team٥١y^
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submit to her sufficiently detailed accounts of all time billed and expenses and costs and
shall retain such information from August 10, 2023until six months following the
termination or expiration of this Agreement in accordance with the terms hereof.




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                           EXHIBITA



                        FINAL JUDGMENT



                         [To be attached.]




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                           EXHIBIT B



        ASSET PRESERVATION STIPULATION AND ORDER



                         [To be attached.]




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                           EXHIBIT C



                      PROTECTIVE ORDER



                         [To be attached.]




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                                      EXHIBIT D

                MEMBERS OF THE MONITORING TRUSTEE TEAM

 Firm           Timekeeper Name                Timekeeper Rank          2023 Bill Rate
 Hausfeld       Melinda R. Coolidge                 Partner                920,00
 Hausfeld       Daniel Weick                        Counsel                850.00
 Hausfeld       Camila Ringeling                   Associate               500.00
 Hausfeld       Jane Shin                          Associate               580.00
 Hausfeld       Elliot Robinson                    Paralegal               350.00
 StoneTurn      Michele Edwards                     Partner                950.00
 StoneTurn      Jason Liew                          Partner                875.00
 StoneTurn      Lisa Van Houten                Managing Director           750.00
 StoneTurn      Dana Ball                      Managing Director           700.00
 StoneTurn      Lauren Nowakowski                  Manager                 625.00
 StoneTurn      Erica Levy                     Senior Consultant           425.00
 StoneTurn      Thanh Nguyen                   Senior Consultant           425.00
 StoneTurn      Tate Dixon                        Consultant               350.00
 StoneTurn      Belvon Luk                      Paraprofessional           300.00
 Bates White    Scott Lobe I                        Partner                875.00
 Bates White    Steven Schulenberg                  Partner                1100.00
 Bates White    Slava Zayats                        Partner                1100.00


All rates of the members of the Monitoring Trustee Team are to be as is reasonable and
customary commensurate with the individual's experience and responsibilities.
                                                                             s/




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                                    EXHIBIT E

                         ADDITIONAL CONFLICT PARTIES

1. Allegion pic
2. Ashley Norton, Inc.
3. Fortune Brands Innovations, Inc.
4. Lowes Companies, Inc.
5. SmartRent Technologies, Inc.
6. The Home Depot, Inc.
7. Spectrum Brands Holdings, Inc.
8. Wyze Labs, Inc.
9. Any of the controlled affiliates of the above.!isted persons; provided, any person
   that is not reasonably identifiable as a controlled affiliate of any of the above-
   listed persons shall not be deemed a conflicted party until such time as that
   person’s status as a controlled affiliate is actually known by the Monitoring
   Trustee or a member of the Monitoring Trustee Team. For the avoidance of
   doubt, if the Monitoring Trustee or members of the Monitoring Trustee Team
   conduct an ordinary-course business conflicts check on a person and the check
   does not identify that person as a controlled affiliate of one of the above-listed
   persons, the identity of such person as a controlled affiliate shall be deemed not
   reasonably identifiable.




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